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                                     IN THE UNITED STATES DISTRICT COURT

                                     FOR THE NORTHERN MARIANA ISLANDS



                    UNITED STATES OF AMERICA,                 )      Criminal No. 08-00002
               11                                             1
               12                        Plaintiff            )
                                                              )
               13                   V.                        )      ORDER GRANTING
               14                                             1      UNOPPOSED MOTION
                    MD. RUHUL AMIN,                           )      FOR EXTENSION OF TIME
               15                                             )
               16                        Defendant            )
                                                              )
               17

               18
                          BASED UPON the unopposed motion of defendant for an extension of time

               19   in whch to file pretrial motions, and good cause appearing therefrom,
               20
                          IT IS ORDERED that defendant shall have until 3:30 p.m., Friday, February
               21
                    15,2008, to file pretrial motions. No other dates are affected by h s order.
               22

               23         DATED h s 4th day of February, 2008.
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(Rev. 08/82)
